                       4:16-bk-16358 Doc#:                  Filed: 10/28/19 Entered: 10/28/19 10:26:35 Page 1 of 2

 Fill in this information to identify the case:


 Debtor 1               Frederick L Harris, Sr.

 Debtor 2
 (Spouse, if filing)    Adrienne R Harris

 United States Bankruptcy Court for the:            Eastern District of Arkansas

 Case number            4:16-bk-16358



Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                                  12/16
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy filing that you
assert are recoverable against the debtor or debtor’s principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


 Name of creditor:                                 PennyMac Loan Services, LLC     Court claim no. (if known):   16

 Last 4 digits of any number you use to
 identify the debtor’s account:                    XXXXXX9530

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
    No
    Yes. Date of the last notice:

 Part 1:          Itemize Postpetition Fees, Expenses, and Charges

  Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any escrow
  account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously approved an amount,
  indicate that approval in parentheses after the date the amount was incurred.
  Description                                                                        Dates incurred                             Amount

  1.      Late Charges                                                                                                   (1)

  2.      Non-sufficient funds (NSF) fees                                                                                (2)

  3.      Attorney fees                                                               08/23/2019                         (3)    $850.00

  4.      Filing fees and court costs                                                08/23/2019                          (4)    $181.00

  5.      Bankruptcy/Proof of claim fees                                                                                 (5)

  6.      Appraisal/Broker’s price opinion fees                                                                          (6)

  7.      Property inspection fees                                                                                       (7)

  8.      Tax advances (non-escrow)                                                                                      (8)

  9.      Insurance advances (non-escrow)                                                                                (9)

  10. Property preservation expenses. Specify:                                                                           (10)

  11. Other. Specify:                                                                                                    (11)

  12. Other. Specify:                                                                                                    (12)

  13. Other. Specify:                                                                                                    (13)

  14. Other. Specify:                                                                                                    (14)


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. §1322(b)(5) and Bankruptcy Rule 3002.1



 Official Form 410S2                              Notice of Postpetition Mortgage Fees, Expenses, and Charges                             Page 1
               4:16-bk-16358 Doc#:                Filed: 10/28/19 Entered: 10/28/19 10:26:35 Page 2 of 2



Debtor 1        Frederick L Harris, Sr.                                     Case Number (if known)     4:16-bk-16358




Part 2:       Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
number.

Check the appropriate box.
   I am the creditor.
   I am the creditor’s authorized agent.

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
information, and reasonable belief.



  /s/ Kathryn Lachowsky-Khan                                                Date   10/28/2019
  Signature

                      Kathryn Lachowsky-Khan, Heather Martin-Herron, & Michael Tackett
Print:                                                                                                             Title   Attorneys


Company               Wilson & Associates, PLLC
                      400 West Capitol Avenue
Address               Suite 1400
                      Little Rock, AR 72201

Contact phone         (501) 219-9388              Email    klachowsky | hmartin-herron | mtackett@thewilsonlawfirm.com


                                                          CERTIFICATE OF SERVICE

          On _____________________,
                   October 28, 2019        a copy of the foregoing Notice of Postpetition Mortgage Fees, Expenses, and Charges was served
electronically through the electronic case filing system (ECF) upon:

           Matthew David Mentgen                                             Joyce Bradley Babin
           Attorney at Law                                                   Trustee
           PO Box 164439                                                     P.O. Box 8064
           Little Rock, AR 72216                                             Little Rock, AR 72203-8064

           and served via U.S. mail upon:


           Frederick L Harris, Sr. and Adrienne R Harris
           Debtors
           720 Belaire
           Benton, AR 72015
                                                                           /s/ Kathryn Lachowsky-Khan
                                                                           Heather Martin-Herron (2011136)
                                                                           Kathryn Lachowsky-Khan (2012039)
 W&A No. 318958                                                            Michael Tackett (2018110)




Official Form 410S2                       Notice of Postpetition Mortgage Fees, Expenses, and Charges                                  Page 2
